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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

         Plaintiff,

 v.                                                         Case No. 1:25-cv-00916-JDB

 U.S. DEPARTMENT OF JUSTICE, et al.,

         Defendants.


      DECLARATION OF MICHAEL A. ATTANASIO IN SUPPORT OF PLAINTIFF’S
        MOTION FOR SUMMARY JUDGMENT AND FOR DECLARATORY AND
                     PERMANENT INJUNCTIVE RELIEF

I, Michael A. Attanasio, hereby declare:

        1.      I am an attorney duly licensed to practice law in the State of California and a

partner with the law firm Cooley LLP, and counsel of record for Plaintiff Jenner & Block LLP. I

have personal knowledge of the facts set forth herein, and if called as a witness, I could and would

competently testify thereto.

        2.      I submit this declaration in support of Plaintiff’s Motion for Summary Judgment

and for Declaratory and Permanent Injunctive Relief.

        3.      Attached hereto as Exhibit 1 is a true and correct copy of a September 5, 2022

post on “Truth Social” by user “@realDonaldTrump,” an account which, upon information and

belief, is owned by President Donald J. Trump. Exhibit 1 is a post publicly available at

https://truthsocial.com/@realDonaldTrump/posts/108948071458149558. A capture of the post is

also available as a Perma.cc link, https://perma.cc/DC3Z-TJMP, which was archived on March

28, 2025.
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       4.       Attached hereto as Exhibit 2 is a true and correct copy of a September 6, 2024

transcript of a Press Conference held by then-candidate Donald J. Trump. Exhibit 2 is a transcript

publicly    available    at      https://rollcall.com/factbase/trump/transcript/donald-trump-press-

conference-new-york-september-6-2024/. A capture of this transcript is also available as a

Perma.cc link, https://perma.cc/T87G-K27Q, which was archived on March 27, 2025.

       5.       Attached hereto as Exhibit 3 is a true and correct copy of a February 11, 2025

post on “X.com” by user “@elonmusk,” an account which, upon information and belief, is owned

by Elon Musk. Exhibit 3 is a post publicly available at https://x.com/elonmusk/

status/1889380095015465272. A capture of the post is also available as a Perma.cc link,

https://perma.cc/EB6G-UUUP, which was archived on March 28, 2025.

       6.       Attached hereto as Exhibit 4 is a true and correct copy of Suspension of Security

Clearances and Evaluation of Government Contracts issued by the White House on February 25,

2025. Exhibit 4 is a document publicly available at https://www.whitehouse.gov/presidential-

actions/2025/02/suspension-of-security-clearances-and-evaluation-of-government-contracts/. A

capture of this document is also available as a Perma.cc link, https://perma.cc/A9FD-Q5MN,

which was archived on April 7, 2025.

       7.       Attached hereto as Exhibit 5 is a true and correct copy of Fact Sheet: President

Donald J. Trump Directs Suspension of Security Clearances and Evaluation of Government

Contracts for Involvement in Government Weaponization, a fact sheet issued by the White House

on   February      25,   2025.     Exhibit    5   is   a    document     publicly   available    at

https://www.whitehouse.gov/fact-sheets/2025/02/fact-sheet-president-donald-j-trump-directs-

suspension-of-security-clearances-and-evaluation-of-government-contracts-for-involvement-in-

government-weaponization/. A capture of this document is also available as a Perma.cc link,




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https://perma.cc/5Q8X-TKU3, which was archived on April 7, 2025.

        8.    Attached hereto as Exhibit 6 is a true and correct copy of Addressing Risks from

Perkins Coie LLP, an Executive Order (No. 14,230) executed by President Donald J. Trump on

March 6, 2025, and published in the Federal Register on March 11, 2025 (90 Fed. Reg. 11781).

        9.    Attached hereto as Exhibit 7 is a true and correct copy of Fact Sheet: President

Donald J. Trump Addresses Risks from Perkins Coie LLP, a fact sheet issued by the White House

on March 6, 2025. Exhibit 7 is a document publicly available at https://www.whitehouse.gov/

fact-sheets/2025/03/fact-sheet-president-donald-j-trump-adresses-risks-from-perkins-coie-llp/.

A capture of this fact sheet is also available as a Perma.cc link, https://perma.cc/MYF2-ATM8,

which was archived on April 7, 2025.

        10.   Attached hereto as Exhibit 8 is a true and correct copy of a March 11, 2025 article

by the Wall Street Journal Editorial Board, Trump, Perkins Coie and John Adams. Exhibit 8 is

an article publicly available at https://www.wsj.com/opinion/donald-trump-perkins-coie-

covington-and-burling-executive-order-4b285e8b. A capture of this article is also available as a

Perma.cc link, https://perma.cc/G79F-B6X5, which was archived on April 5, 2025.

        11.   Attached hereto as Exhibit 9 is a true and correct copy of a March 14, 2025

transcript of a speech by President Donald J. Trump to the Staff at the Department of Justice.

Exhibit 9 is a transcript publicly available at https://rollcall.com/factbase/trump/transcript/

donald-trump-speech-department-of-justice-march-14-2025. A capture of this transcript is also

available as a Perma.cc link, https://perma.cc/5JVA-J9E7, which was archived on March 28,

2025.




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        12.   Attached hereto as Exhibit 10 is a true and correct copy of Addressing Risks from

Paul Weiss, an Executive Order (No. 14,237) executed by President Donald J. Trump on March

14, 2025, and published in the Federal Register on March 20, 2025 (90 Fed. Reg. 13039).

        13.   Attached hereto as Exhibit 11 is a true and correct copy of Fact Sheet: President

Donald J. Trump Addresses Risks from Paul Weiss, a fact sheet issued by the White House on

March 14, 2025. Exhibit 11 is a document publicly available at https://www.whitehouse.gov/fact-

sheets/2025/03/fact-sheet-president-donald-j-trump-addresses-risks-from-paul-weiss/. A capture

of this fact sheet is also available as a Perma.cc link, https://perma.cc/U585-Y9WE, which was

archived on April 7, 2025.

        14.   Attached hereto as Exhibit 12 is a true and correct copy of a March 19, 2025

article by Daniel Barnes, How Major Law Firms Are Responding to Trump’s Attacks. Exhibit 12

is an article publicly available at https://www.politico.com/news/2025/03/19/trump-major-

law-firm-sanctions-questions-00236446. A capture of this article is also available as a Perma.cc

link, https://perma.cc/2C3P-BD7F, which was archived on March 27, 2025.

        15.   Attached hereto as Exhibit 13 is a true and correct copy of a March 20, 2025,

updated March 22, 2025, article by Michael S. Schmidt, Law Firm Bends in Face of Trump

Demands. Exhibit 14 is an article publicly available at https://www.nytimes.com/2025/03/20/

us/politics/paul-weiss-deal-trump-executive-order-withdrawn.html. A capture of this article is

also available as a Perma.cc link, https://perma.cc/H3U4-7UCX, which was archived on April 5,

2025.

        16.   Attached hereto as Exhibit 14 is a true and correct copy of a March 20, 2025 post

on “Truth Social” by user “@realDonaldTrump,” an account which, upon information and belief,

is owned by President Donald J. Trump. Exhibit 14 is a post publicly available at




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https://truthsocial.com/@realDonaldTrump/posts/114197044617921519. A capture of the post is

also available as a Perma.cc link, https://perma.cc/78M3-JPHY, which was archived on March

27, 2025.

       17.        Attached hereto as Exhibit 15 is a true and correct copy of Addressing Remedial

Action by Paul Weiss, an Executive Order (No. 14,244) executed by President Donald J. Trump

on March 21, 2025, and published in the Federal Register on March 26, 2025 (90 Fed. Reg.

13685).

       18.        Attached hereto as Exhibit 16 is a true and correct copy of Preventing Abuses of

the Legal System and the Federal Court, a Presidential Memorandum issued by the White House

on March 22, 2025. Exhibit 16 is a document publicly available at https://www.whitehouse.gov/

presidential-actions/2025/03/preventing-abuses-of-the-legal-system-and-the-federal-court/.      A

capture of this memorandum is also available as a Perma.cc link, https://perma.cc/U9TV-N5UW,

which was archived on March 28, 2025.

       19.        Attached hereto as Exhibit 17 is a true and correct copy of Rescinding Security

Clearances and Access to Classified Information from Specified Individuals, a Presidential

Memorandum issued by the White House on March 22, 2025. Exhibit 17 is a document publicly

available    at     https://www.whitehouse.gov/presidential-actions/2025/03/rescinding-security-

clearances-and-access-to-classified-information-from-specified-individuals/. A capture of this

document is also available as a Perma.cc link, https://perma.cc/4ARB-NCNS, which was

archived on April 7, 2025.

       20.        Attached hereto as Exhibit 18 is a true and correct copy of a March 25, 2025

article by Brett Samuels, Trump Signs Order Targeting Law Firm that Employed Mueller Team

Prosecutor. Exhibit 18 is an article publicly available at https://thehill.com/homenews/




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administration/5213311-trump-order-mueller-prosecutor-law-firm. A capture of this article is

also available as a Perma.cc link, https://perma.cc/6234-SBMW, which was archived on March

28, 2025.

       21.     Attached hereto as Exhibit 19 is a true and correct copy of Addressing Risks from

Jenner & Block, an Executive Order (No. 14,246) executed by President Donald J. Trump on

March 25, 2025, and published in the Federal Register on March 28, 2025 (90 Fed. Reg. 13997).

       22.     Attached hereto as Exhibit 20 is a true and correct copy of Fact Sheet: President

Donald J. Trump Addresses Risks from Jenner & Block, a fact sheet issued by the White House

on March 25, 2025. Exhibit 20 is a document publicly available at https://www.whitehouse.gov/

fact-sheets/2025/03/fact-sheet-president-donald-j-trump-addresses-risks-from-jenner-block/. A

capture of this fact sheet is also available as a Perma.cc link, https://perma.cc/CE4L-CZ43, which

was archived on March 27, 2025.

       23.     Attached hereto as Exhibit 21 is a true and correct copy of Addressing Risks from

WilmerHale, an Executive Order (No. 14,250) executed by President Donald J. Trump on March

27, 2025, and published in the Federal Register on April 3, 2025 (90 Fed. Reg. 14549).

       24.     Attached hereto as Exhibit 22 is a true and correct copy of Fact Sheet: President

Donald J. Trump Addresses Risks from WilmerHale, a fact sheet issued by the White House on

March 27, 2025. Exhibit 22 is a document publicly available at https://www.whitehouse.gov/fact-

sheets/2025/03/fact-sheet-president-donald-j-trump-addresses-risks-from-wilmerhale/. A capture of this

fact sheet is also available as a Perma.cc link, https://perma.cc/7WN4-PCQF, which was archived

on April 7, 2025.

       25.     Attached hereto as Exhibit 23 is a true and correct copy of a March 28, 2025

article by Daniel Barnes, Major Law Firm Strikes Preemptive Deal with White House. Exhibit 23




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is an article publicly available at https://www.politico.com/news/2025/03/28/skadden-arps-

trump-law-deal-028324. A capture of this article is also available as a Perma.cc link,

https://perma.cc/2MWM-LVLR, which was archived on April 5, 2025.

        26.   Attached hereto as Exhibit 24 is a true and correct copy of a March 28, 2025 post

on “Truth Social” by user “@realDonaldTrump,” an account which, upon information and belief,

is owned by President Donald J. Trump. Exhibit 24 is a post publicly available at

https://truthsocial.com/@realDonaldTrump/posts/114241348699704594. A capture of the post is

also available as a Perma.cc link, https://perma.cc/2EF8-QP5T, which was archived on April 5,

2025.

        27.   Attached hereto as Exhibit 25 is a true and correct copy of an April 1, 2025 post

on “Truth Social” by user “@realDonaldTrump,” an account which, upon information and belief,

is owned by President Donald J. Trump. Exhibit 25 is a post publicly available at

https://truthsocial.com/@realDonaldTrump/posts/114264667777137553. A capture of the post is

also available as a Perma.cc link, https://perma.cc/7QK8-D6BD, which was archived on April 5,

2025.

        28.   Attached hereto as Exhibit 26 is a true and correct copy of an April 2, 2025 post

on “Truth Social” by user “@realDonaldTrump,” an account which, upon information and belief,

is owned by President Donald J. Trump. Exhibit 26 is a post publicly available at

https://truthsocial.com/@realDonaldTrump/posts/114269692330126501. A capture of the post is

also available as a Perma.cc link, https://perma.cc/4EVZ-YNNM, which was archived on April

5, 2025.




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I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 8, 2025 in San Diego, California.


                                              /s/ Michael A. Attanasio
                                              Michael A. Attanasio




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